Case 4:17-cv-00144-AWA-LRL Document 1 Filed 12/14/17 Page 1 of 13 PageID# 1




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             Newport News Division


JAMES EDWARD MOORE

                  Plaintiff,                                            4:17cv144
                                                     Civil Action No. ___________________

v.

CURTISS-WRIGHT CORPORATION,
DANA COMPANIES, LLC, EATON
CORPORATION, HAJOCA
CORPORATION, HENKEL
CORPORATION individually and as
successor-in-interest to certain assets of the
former DEXTER 2 CORPORATION and
DEXTER HYSOL AEROSPACE, L.L.C.
f/k/a DEXTER HYSOL AEROSPACE, INC.,
HONEYWELL INTERNATIONAL, INC.,
IMO INDUSTRIES, INC. individually and
successor-in-interest, parent, alter ego, and
equitable trustee to ADEL WIGGINS, ADEL
FASTENERS, and WIGGINS
CONNECTORS, MEGGITT AIRCRAFT
SYSTEMS CORPORATION individually
and as successor and/or parent to AIRCRAFT
BRAKING SYSTEMS CORPORATION and
AIRCRAFT BRAKING CORPORATION,
METROPOLITAN LIFE INSURANCE
COMPANY, NOLAND COMPANY,
PARKER-HANNIFIN CORPORATION,
PNEUMO ABEX LLC successor to ABEX
CORPORATION, R.E. MICHEL
COMPANY, INC., THE BOEING
COMPANY, individually and as successor in
interest to MCDONNELL DOUGLAS
CORPORATION AND BOEING NORTH
AMERICAN, INC., THE GOODYEAR
TIRE & RUBBER COMPANY, UNITED
TECHNOLOGIES CORPORATION
individually and d/b/a PRATT & WHITNEY
CO., INC. individually and d/b/a UTC
AEROSPACE SYSTEMS, WACO, INC., and
WYETH HOLDINGS CORPORATION as

                                                 1
Case 4:17-cv-00144-AWA-LRL Document 1 Filed 12/14/17 Page 2 of 13 PageID# 2




 successor in interest to AMERICAN
 CYANAMID COMPANY,

                               Defendants


                         DEFENDANT THE BOEING COMPANY’S
                               NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that Defendant, The Boeing Company (“Boeing”) hereby

removes the above-captioned action from the Virginia Circuit Court for the City of Newport News

pursuant to 28 U.S.C. §§ 1442(a)(1) and 1446. In filing this notice of removal, Boeing does not

waive any defenses that it may have in this action.

                                      I.     BACKGROUND

   1. On or about November 8, 2017, Plaintiff James Edward Moore filed a complaint (the

“Complaint”), captioned James Edward Moore v. A.W. Curtiss-Wright Corporation, et al., in the

Virginia Circuit Court for the City of Newport News (“State Court”), Case No. 700CL1703995M-

03, against Boeing and other Defendants. In the Complaint, Mr. Moore alleges that he developed

mesothelioma as a result of asbestos exposure that he allegedly experienced from the maintenance,

repair, and operation of military aircraft while in the service of the United States Air Force. See

Exhibit. A at ¶¶ 4-5, 8(n).

   2. Boeing manufactures and sells commercial and military aircraft, each of which is

individually composed of myriad complex systems containing hundreds of thousands of

component and sub-component parts manufactured by various other government contractors and

sub-contractors. All aircraft that Boeing manufactured for the United States Government were

specifically designed for military use. These military aircraft were manufactured according to

reasonably precise specifications approved by the Government. Moreover, the Government




                                                2
Case 4:17-cv-00144-AWA-LRL Document 1 Filed 12/14/17 Page 3 of 13 PageID# 3




required that Boeing utilize specific, Government-furnished aircraft equipment in manufacturing

these military aircraft.

    3. Thus, Boeing was put on notice by service of the Complaint that it had a colorable basis to

assert federal officer jurisdiction under 28 U.S.C. § 1442(a)(1).

    4. The federal officer removal statute provides that a notice of removal must be filed within

30 days of a defendant’s receipt of the initial pleading or, “[i]f the case stated by the initial pleading

is not removable,” within 30 days after that defendant’s receipt of “an amended pleading, motion,

order or other paper from which it may be ascertained that the case is one which is or has become

removable[.]” 28 U.S.C. §§ 1442(a)(1), 1446(b)(3).

    5. This Notice of Removal is timely filed, in accordance with 28 U.S.C. § 1446(b), within

thirty (30) days after Boeing was served with the Complaint.

    6. On or about December 12, 2017, before this action was removed, Boeing moved to dismiss

the action for a lack of personal jurisdiction. That motion is now properly before this Court.

                  II.      FEDERAL OFFICER REMOVAL IS APPROPRIATE
                                   UNDER 28 U.S.C. § 1442(a)(1)

    7. Removal is proper under 28 U.S.C. 1442(a)(1) when facts are disclosed establishing that:

(1) the removing defendant is a person within the meaning of the statute; (2) it performed the

complained of action at the direction of a federal officer and under color of federal office; (3) there

is a causal nexus between the defendant’s actions and the plaintiff’s claims; and (4) the defendant

asserts a “colorable federal defense.” Mesa v. California, 489 U.S. 121, 123-35 (1989); Sawyer v.

Foster Wheeler LLC, 860 F.3d 249, 254 (4th Cir. 2017); Ripley v. Foster Wheeler LLC, 841 F.3d

207, 209-10 (4th Cir. 2016); Papp v. Fore-Kast Sales, Inc., 842 F.3d 805, 812 (3d Cir. 2016); 28

U.S.C. § 1442(a)(1) All elements are present here.




                                                    3
Case 4:17-cv-00144-AWA-LRL Document 1 Filed 12/14/17 Page 4 of 13 PageID# 4




   8. First, as a corporation, Boeing is a “person” for purposes of 28 U.S.C. § 1442(a)(1). Papp,

842 F.3d at 812; Ruppel v. CBS Corp., 701 F. 3d 1176, 1181 (7th Cir. 2012); Isaacson v. Dow

Chem. Co., 517 F. 3d 129, 135-36 (2d Cir. 2008); Winters v. Diamond Shamrock Chem. Co., 149

F. 3d 387, 398 (5th Cir. 1998), cert. denied, 526 U.S. 1034 (1999).

   9. Second, Boeing manufactured aircraft at the direction of a federal officer, the United States

Government, and under color of federal office. The aircraft allegedly at issue was manufactured

for the USAF pursuant to military procurement contracts with the United States Government and

in compliance with detailed design specifications that were issued and/or approved by the

Government. To the extent that the design or manufacture of aircraft included asbestos-containing

parts or components, such inclusion was required by the Government in its approved detailed and

precise specifications. Further, some aircraft components, such as engines and their component

parts, were furnished by the Government and the Government required Boeing to install them on

the aircraft. Any decision regarding asbestos in component parts was subject to close, detailed,

and ongoing supervision and control of the United States Government and its officers. The

Government likewise controlled the content of written materials and warnings associated with the

aircraft. The Government exercised its discretion and approved certain warnings for aircraft

designed, manufactured, and supplied by Boeing; Boeing provided the warnings required by the

United States Government; and Boeing warned the United States Government about any asbestos

hazards known to Boeing but not to the United States Government. See Sawyer, 860 F.3d at 255;

Papp, 842 F.3d at 813; Getz v. Boeing Co., 654 F.3d 852, 866 (9th Cir. 2011); Winters, 149 F.3d

at 400.

   10. Boeing’s design and manufacture of aircraft under the control, direction, and supervision

of the Government thus satisfies the “acting under” requirement. The “acting under” requirement,



                                                4
Case 4:17-cv-00144-AWA-LRL Document 1 Filed 12/14/17 Page 5 of 13 PageID# 5




like federal officer removal generally, “is ‘broad’ and is to be ‘liberally construe[d]’ in favor of

the entity seeking removal.’” Sawyer, 860 F.3d at 255 (quoting Watson v. Philip Morris Cos., 551

U.S. 142, 147 (2007)). Numerous federal courts have held, for purposes of federal officer removal,

that military contractors were “acting under a federal officer” in relation to the design,

manufacture, and supply of equipment to the United States Government. See, e.g., Papp, 842 F.3d

at 813 (stating that Boeing “easily satisfie[d] the ‘acting under’ requirement” where plaintiff’s

allegations were “directed at actions Boeing took while working under a federal contract to

produce an item the Government needed, to wit, a military aircraft, and that the Government

otherwise would have been forced to produce on its own”); Durham, 445 F.3d at 1251; Ruppel,

701 F.3d at 1181; Hagen, 739 F. Supp. 2d at 784. Indeed, Boeing could not change the design,

component parts, or provide additional warnings on the aircraft without prior Government

authorization. Moreover, not only did Boeing’s acquisition of Government approval for any

design change require strict compliance with the Government’s formal, detailed change process

procedures, the Government retained absolute authority at all times to accept, reject, or modify

any aspect of a military government contractor’s requested change proposal.

   11. Third, there is a causal nexus between Boeing’s alleged actions in manufacturing the

aircraft and Plaintiff’s alleged injury in that Mr. Moore claims that his mesothelioma was caused

by the allegedly defective design of the aircraft and/or such injury was caused by Boeing’s alleged

failure to warn of the potential hazards of asbestos-containing components. To meet this

requirement, “there need be only ‘a connection or association between the act in question and the

federal office.’” Sawyer, 860 F.3d at 258 (quoting Papp, 842 F.3d at 813) (emphasis added in

Sawyer). If a defendant is sued for asbestos-related injuries purportedly arising from or relating

to equipment that it manufactured and supplied to the United States Government under the



                                                 5
Case 4:17-cv-00144-AWA-LRL Document 1 Filed 12/14/17 Page 6 of 13 PageID# 6




Government’s detailed direction and control, that defendant has been sued in relation to conduct

under color of its federal office, satisfying the “causal nexus” requirement. See Cuomo v. Crane

Co., 771 F.3d 113, 117 (2d Cir. 2014); Ruppel, 701 F.3d 1181.

   12. Fourth, Boeing asserts a colorable federal defense, namely the “government contractor”

defense set forth in Boyle v. United Technologies, Inc., 487 U.S. 500 (1988) and its progeny. Under

Boyle, a defendant must show that: (1) it designed, manufactured, and supplied the product at issue

(including accompanying markings and manuals) according to “reasonably precise specifications”

promulgated or adopted by the United States Government; (2) the equipment, markings, and

manuals conformed with those specifications; and (3) at all relevant times, the United States

Government had as much knowledge of the potential hazard as the defendant. 487 U.S. at 512;

accord Sawyer, 860 F.3d at 255-56; Ripley, 841 F.3d at 210. To assert a colorable defense, a

defendant is required only to identify facts which, viewed in the light most favorable to the

defendant, would establish a defense under Boyle at trial, and “‘need not win his case before he

can have it removed.’” Papp, 842 F.3d at 815 (quoting Willingham v. Morgan, 395 U.S. 402,

407(1969)). Accord Rhodes v. MCIC, Inc., 210 F. Supp. 3d 778, 782 (D. Md. 2016). “‘Just as

requiring a clearly sustainable defense rather than a colorable defense would defeat the purpose of

the removal statute, so would demanding an airtight case on the merits in order to show the required

causal connection.’” Sawyer, 860 F.3d at 258 (quoting Jefferson County v. Acker, 527 U.S. 423,

432 (1999)). Under identified facts similar to those here, federal courts consistently have denied

motions to remand state law claims removed under the government contractor defense. See, e.g.,

Sawyer, 860 F.3d at 259 (reversing district court’s remand); Ripley, 841 F.3d at 211 (same);

Rhodes, 210 F. Supp. 3d at 786; Citrano v. John Crane-Houdaille, Inc., 1 F. Supp. 3d 459 (E.D.

Va. 2014). See also Emory v. McDonnell Douglas Corp., 148 F.3d 347, 353 (4th Cir. 1998)



                                                 6
Case 4:17-cv-00144-AWA-LRL Document 1 Filed 12/14/17 Page 7 of 13 PageID# 7




(affirming summary judgment for defendant on government contractor defense); Kleeman v.

McDonnell Douglas Corp., 890 F.2d 698, 704 (4th Cir. 1989) (same).

   13. The government contractor defense also applies to Plaintiff’s failure-to-warn claims in that:

(1) the Government approved specifications for military aircraft; (2) Boeing provided the warnings

required by the Government; and (3) Boeing told the Government about any asbestos hazards that

were then known to Boeing but not to the Government. Sawyer, 860 F.3d at 256. As recognized

by the Fourth Circuit, “the rationales identified in Boyle remain applicable in failure to warn

cases.” Ripley, 841 F.3d at 211 (holding that government contractor defense is available in failure

to warn cases). See also Emory v. McDonnell Douglas Corp., 148 F.3d 347, 350 (4th Cir. 1998)

(stating that decisions applying government contractor defense in failure to warn cases were

“reasoned soundly”). In addition to the Fourth Circuit, the Second, Third, Fifth, Sixth, Seventh,

Ninth, and Eleventh Circuits also have all applied Boyle’s government contractor defense in

failure-to-warn cases. Papp, 842 F.3d at 814 & n.6 (collecting cases).

   14. The government contractor defense is satisfied here because: (1) the design specifications,

including all warnings, for the aircraft were issued and/or approved by the Government; (2) the

aircraft did, in fact, conform to those specifications; and (3) to the extent that asbestos was

believed, at the time, to be a hazardous material, the Government’s knowledge of such hazards

was superior to that of Boeing. See Citrano, 1 F. Supp. 3d at 467-69; Hicks v. Boeing, 2014 WL

1051748 (D. Del. Mar. 17, 2014); Fung v. Abex Corp., 816 F. Supp. 569, 573 (N.D. Cal. 1992).

   15. Moreover, the government contractor defense need apply to only one of the claims in a

complaint to allow removal of the entire case under the federal officer removal statute. Sawyer,

860 F.3d at 257.




                                                7
Case 4:17-cv-00144-AWA-LRL Document 1 Filed 12/14/17 Page 8 of 13 PageID# 8




      16. Boeing also is entitled to federal officer removal under 28 U.S.C. § 1442(a)(1) based on

the separate defense of derivative sovereign immunity set forth in Yearsley v. W.A. Ross

Construction Co., 309 U.S. 18, 40 (1940). In Yearsley, the Court established that a government

contractor acting at the direction and authorization of a government officer is immune from suit

based on performance of the government contract. Yearsley is satisfied here because the acts

complained of were performed at the direction of government officers acting under government

authorization, and if the Government had performed those acts directly, it would be immune from

suit.

                                        III.    JURISDICTION

      17. Removal of this action is proper under 28 U.S.C. §§1331, 1442. Consistent with the short

and plain statement of the law and facts set forth above, the federal district courts have original

jurisdiction over the subject matter of this suit under 28 U.S.C. § 1442(a)(1), because Boeing was

acting under an officer or agency of the United States Government in relation to any claims

asserted against Boeing and Boeing can state at least a colorable defense under federal law to any

such claims. See Sawyer, 860 F.3d at 254; Papp, 842 F.3d at 812-15; Ruppel, 701 F.3d at 1179-

86.

      18. “‘Unlike the general removal statute, the federal officer removal statute is to be ‘broadly

construed’ in favor of a federal forum.’” Papp, 842 F.3d at 811 (quoting Defender Ass’n, 790 F.3d

at 466-67); see also Willingham, 395 U.S. at 406 (noting that scope of federal officer removal

statute “is not narrow or limited”).




                                                  8
Case 4:17-cv-00144-AWA-LRL Document 1 Filed 12/14/17 Page 9 of 13 PageID# 9




                            IV.     INTRADISTRICT ASSIGNMENT

    19. As stated above, Boeing has moved to dismiss this action for lack of personal jurisdiction

within the Commonwealth of Virginia. That motion is now properly before this Court.

    20. Because this Court is the United States District Court for the district and division

embracing the place where the original State Court Complaint was filed, it is the appropriate court

for removal under 28 U.S.C. § 1446(a). Boeing reserves the right to move the Court for transfer

to another district.

                             V.      PROCEDURAL COMPLIANCE

    21. Written notice of the filing of this Notice of Removal is being given promptly to Plaintiffs

by service hereof, and a copy of the Notice of Removal is being filed promptly with the Virginia

Circuit Court for the City of Newport News, as required by 28 U.S.C. § 1446(d). A copy of the

notice provided to the state court (without exhibits) is attached as Exhibit B.

    22. Because Boeing satisfies the requirements for removal under 28 U.S.C. § 1442(a)(1), it is

entitled to remove this action without obtaining the consent of other defendants. See, e.g., Durham

v. Lockheed Martin Corp., 445 F.3d 1247, 1253 (9th Cir. 2006); Akin v. Ashland Chem. Co., 156

F.3d 1030, 1034 (10th Cir. 1998).

    23. As required by 28 U.S.C. § 1446(a), true and correct copies of the process and pleadings

served upon Boeing, and Boeing’s Special Appearance, are being filed with this Notice of

Removal as Exhibit C.

    24. A court cannot remand a properly removed case for discretionary or policy reasons, such

as allegedly related state court cases or a contention that judicial economy compels remand. 28

U.S.C. § 1447(c); Thermitron Prods., Inc. v. Hermansdorfer, 423 U.S. 336 (1976). The federal

officer removal statute, 28 U.S.C. § 1442(a)(1), is not narrow or limited, and it should not be



                                                 9
Case 4:17-cv-00144-AWA-LRL Document 1 Filed 12/14/17 Page 10 of 13 PageID# 10




frustrated by a narrow or grudging interpretation. Willingham v. Morgan, 395 U.S. 402, 405

(1960).

   25. Should Plaintiff move to remand this case, Boeing respectfully requests an opportunity to

respond more fully in writing, including submission of additional affidavits and authority.

   26. Boeing reserves all of its defenses.

          WHEREFORE, Boeing requests that this Court administer all further proceedings in this

action until the action is either dismissed or transferred.



                                                    THE BOEING COMPANY, Individually and as
                                                    Successor in Interest to McDonnell Douglas
                                                    Corporation and Boeing North America, Inc.



                                                    By:       /s/ Martin A. Conn

 Martin A. Conn (VSB # 39133)
 Eric G. Reeves (VSB # 38149)
 MORAN REEVES & CONN PC
 100 Shockoe Slip, 4th Floor
 Richmond, Virginia 23219
 Telephone: (804) 421-6250
 Facsimile: (804) 421-6251
 mconn@moranreevesconn.com
 ereeves@moranreevesconn.com
 Counsel for The Boeing Company




                                                  10
Case 4:17-cv-00144-AWA-LRL Document 1 Filed 12/14/17 Page 11 of 13 PageID# 11




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 14th day of December, 2017, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, served by electronic mail (PDF attachment)

and by U.S. mail, postage prepaid, to counsel for plaintiff and served upon all other counsel of

record via electronic mail (PDF attachment) as follows:

                              Robert R. Hatten, Esq.
                              Donald N. Patten, Esq.
                              Hugh B. McCormick, III, Esq.
                              Jennifer W. Stevens, Esq.
                              William W.C. Harty, Esq.
                              Erin E. Jewell, Esq.
                              F. Alex Coletrane, Esq.
                              Patten Wornom Hatten & Diamonstein
                              12350 Jefferson Ave, Suite 300
                              Newport News, Virginia 23602
                              Counsel for Plaintiffs

                              Thomas Radcliffe, Esq.
                              Dehay & Elliston
                              36 South Charles Street, Suite 1300
                              Baltimore, Maryland 20201
                              Counsel for Dana Companies, LLC, Pneumo Abex Corporation,
                              and Honeywell International, Inc.

                              Lynn K. Brugh, IV, Esq.
                              Williams Mullen
                              Post Office Box 1320
                              Richmond, VA 232181320
                              Counsel for Eaton Corporation

                              Timothy S. Brunick, Esq.
                              Clarke, Dolph, Hull & Brunick, PLC
                              5712 Cleveland Street,
                              Suite 130
                              Virginia Beach, Virginia 23462
                              Counsel for IMO Industries, Inc.

                              William Wallace, Esq.
                              Johnson, Ayers & Matthews
                              Campbell Avenue at Second Street
                              Post Office Box 2200

                                                11
Case 4:17-cv-00144-AWA-LRL Document 1 Filed 12/14/17 Page 12 of 13 PageID# 12




                              Roanoke, Virginia 240092200
                              Counsel for Metropolitan Life Insurance Company

                              Albert H. Poole, Esq.
                              Poole & Mahoney, P.C.
                              4705 Columbus Street
                              Virginia Beach, Virginia 234626749
                              Counsel for Noland Company

                              Carl Schwertz, Esq.
                              Miles & Stockbridge, P.C.
                              1751 Pinnacle Drive, Suite 500
                              McLean, Virginia 221023833
                              Counsel for Parker-Hannifin Corporation and R.E. Michel
                              Company, Inc.

                              James G. Kennedy, Esq.
                              Pierce, Herns, Sloan & Wilson, LLC
                              The Blake House
                              321 East Bay Street
                              Charleston, South Carolina 29401
                              Counsel for Union Carbide Corporation

                              Shawn Voyles, Esq.
                              McKenry, Dancigers, Dawson & Lake
                              192 Ballard Court
                              Suite 400
                              Virginia Beach, Virginia 234626538
                              Counsel for Waco, Inc.

                              Richard J. Cromwell, Esq.
                              McGuireWoods LLP
                              101 West Main Street, Suite 9000
                              Norfolk, VA 23510
                              Counsel for Wyeth Holdings, LLC

                              Bruce T. Bishop, Esq.
                              Kevin P. Greene, Esq.
                              Michele F. Dallman, Esq.
                              Willcox & Savage, P.C.
                              440 Monticello Avenue, Suite 2200
                              Norfolk VA 23510
                              Counsel for United Technologies Corporation

And I hereby certify that I will mail the document by U.S. mail to the following:



                                               12
Case 4:17-cv-00144-AWA-LRL Document 1 Filed 12/14/17 Page 13 of 13 PageID# 13




                       Curtiss-Wright Corporation
                       c/o The Corporation Trust Company
                       1209 Orange Street
                       Wilmington, DE 19801

                       Henkel Corporation
                       200 Elm Street
                       Stamford, CT 06902

                       Meggitt Aircraft Systems Corporation
                       1204 Massillon Road
                       Akron, Ohio 44306


                                         /s/ Martin A. Conn______________________
                                         Martin A. Conn (VSB # 39133)
                                         Eric G. Reeves (VSB # 38149)
                                         MORAN REEVES & CONN PC
                                         100 Shockoe Slip, 4th Floor
                                         Richmond, Virginia 23219
                                         Telephone: (804) 421-6250
                                         Facsimile: (804) 421-6251
                                         mconn@moranreevesconn.com
                                         ereeves@moranreevesconn.com
                                         Counsel for The Boeing Company




                                       13
